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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                        www.ca4.uscourts.gov

                                              May 31, 2024

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                                TENTATIVE CALENDAR ORDER
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        No. 22-4331, US v. Cristian Cabrera-Rivas
                     3:19-cr-00235-RJC-DCK-2

        No. 23-1911, Shelby Roberts v. Carter-Young, Inc.
                     1:22-cv-01114-WO-LPA

        No. 23-2073, John Doe 2 v. North Carolina State University
                      5:23-cv-00216-FL

        No. 23-2164, Siddhanth Sharma v. Alan Hirsch
                     5:23-cv-00506-M-BM

        No. 23-4291, US v. Christopher Mitchell
                     1:21-cr-00227-WO-3

        No. 23-4624, US v. Brian Bright
                     1:22-cr-00401-LCB-3

              The court periodically schedules oral argument at law schools and

        universities throughout the Circuit. These cases are tentatively calendared for in-

        person oral argument during the September 10, 2024, North Carolina Central

        University, School of Law, oral argument session.

              Any motions that would affect the scheduling of argument, including
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        motions to submit on the briefs or to schedule oral argument in Richmond,

        Virginia, must be filed by 06/07/2024, or counsel must show that relief could not

        have been requested by that date. Motions must state whether opposing counsel

        consents to the requested relief.

              Any conflicts that would affect the scheduling of argument and any

        additional cases counsel is tentatively scheduled to argue during this session must

        be identified by filing a Notice Regarding Conflict with Proposed Argument Dates

        (form available at www.ca4.uscourts.gov/court-form-fees) by 06/07/2024. The

        form should not be filed if counsel is available throughout the session and is

        arguing this case only.

              The court requires a total of four paper copies of all briefs and appendices

        filed by counsel in cases that are tentatively calendared for oral argument. If you

        previously filed one copy of your brief or appendix, you must now file three

        additional copies within 7 days of this notice. If you previously filed three

        additional copies in response to an earlier tentative calendar order, no additional

        copies are required. If you have not yet filed your brief, you must file four paper

        copies and an electronic copy at the time of filing. The paper copy requirement

        applies to any briefs and appendices filed by counsel but not to pro se briefs. Paper

        copies must be identical as to cover, binding, page numbering, and formatting must

        match the electronic copy, and must comply with the Fourth Circuit Brief and

        Appendix Requirements. No ECF entry is made by counsel when filing paper
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        copies of previously filed briefs and appendices.

              Counsel will be notified either that the case has been scheduled for argument

        at this session or continued to the next available session. The identity of the panel

        hearing a case is not disclosed until the morning of argument.

              For questions regarding scheduling of argument, please call 804-916-2714.

        For questions regarding required copies of briefs and appendices, please call 804-

        916-2700.

                                         /s/ NWAMAKA ANOWI, CLERK
                                         By: Naeemah Sims, Calendar Clerk
